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EXHIBIT 1

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Fo)< Rothschild tip

AT`I()FZN¥.YS AT LAW

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Warringtorm PA 18976-36.?4
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Roben E. Goldman
Dircct Dial: (215) 9£8-355()

Email Address: rgoldman§rilfoxrothscl_i,ild£og
Fi|e No 52|30,0000|

May 25, 200?

Via Facsimilc Gi`) 610~7’}`6-1184 and First Class Mail
Seth Weber, Assistant U.S. Attorney

U.S. Dcpartment' ol`lusticc

l'_`iastern District oiPennsylvania

504 Wcst' ltamilton St., Suite 3701

Allentown, PA 18101

Re: Grand Jttry Matter
Dear Mr. cher:

This letter conlinns our telephone discussion ol` May 17, 2007 wherein l advised l represent Joh_n l`(aroly
who you advised is a subject of an ongoing grandiury investigation

Prior to the F.B.I. search ofthe John Karoly residence, Karoly, an attorney, was engaged in representing
himself in a Wiil contest matter docketed at No. 2007-019`7 in Northampton County Orphans Court. l\/I_r_
Karoly maintained his attorney work product, court papers and related material for that litigation at his
residence when it was seized by the F.B.I, Mr. Karoly, who has health issues, frequently worked at
.horne. We presently have a need to access these records to continue the defense of the Orphans Court
matter. I am therefore requesting that we be given access to the seized records to enable us to identify to
you attorney privileged material that should be immediately returned ln addition, we would identit‘ y
documents that we need copies of to assist in the civil case defense In addition, Mr. Karoly had
portions ot` files for other clients at his residence

Also, the F.B.l. seized material that was not authorized by the search warrant For example, currency
and photographs were seized as were records ofJohn Karoly not specified in the warrant I arn therefore
requesting the immediate return of all niaterial, the seizure ot` which was not authorized in the warrant

Anticipating that your reply may be that the seized material is not available to you until it is examined
by a “taint team”, l am requesting that you promptly advise me When the taint team’s examination will
be completed l expect that you will have no answer for this. l am therefore offering to examine all
seized material to identify to the government ali material we deem privileged or seized without
authorization This would move your investigation along since it would immediately make available to

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Fox Rothschl|d tip

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Seth Weber, U.S. Attorney
l\/lay 25, 2007
Page 2

you the bulk ofthe material that I would expect that l would find to not be privileged 'I`he smaller
amount ol"“privilegcd” material could then be examined by your taint team for their opinion

lt is my hope and expectation that l can work with the government to speed the investigative process
along, return privileged material to my client and recover items not authorized to be seized. lt is my
beliefthat this suggested course is preferable to both parties to litigation to recover privileged material

and to gain access necessary to defend the civil case
Since time is ofthe essence, please reply to me by next week.

Rospcctfully,

Robert E. Goldman

Rl£G:cb

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EXHIBIT 2

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Robert E. Goldman

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Email Addrcss: ;gp|dnianfri?iti;xroihsclilitteQO
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l\/lay 28, 2008

Vla Facsimile @ 215-861~8559 agd First C|ass Mail
Seth Weber, Assistant U.S. Attomey

U.S. Departnient ol`Justice

Eastern District ol`Pennsylvania

504 West Hamilton St., Suite 3707

Allentown, PA 18101

Re: Grand Jurv Snbpoeua to John P. Karotv

Dear Mr. Weber:

l am in receipt ofthe grand jury subpoena issued to my client, Joh.n P. Karoly, for the production ot`
certain records

Tliis letter is to advise that Mr. Karoly, a target olthe federal grandjury investigation will exercise his
Filth Amendment rights in regards to the production olthese documents

Preliminarily, l note that the subpoena is drafted in extremely broad terms lt calls for the production of
“all documents characterized by john P. Karoly, Jr., ns "impormnl pnpers” including but not limited to,
all papers contained in the box allegedly stored at the storage facility owned by George Pollocl< on or
about February 20, 2007 which were marked “Karoly Family” or “Karoly Personal” or other such terms,
that were given to John P_ Karoly between lanuary 2006 and February 2007.” (emphasis added).

Requiring Mr. Karoly to produce these records would constitute personal testimony concerning the
documents and would be protected by the privilege against self-incrimination

First, you are seeking to compel a target to produce all documents a target “characterized” as “important
papers.” Clearly, this subpoena would require lohn Karoiy to testify through the production ot` records
as to what documents Karoly has “characterized” as important papers Requiring my client to produce
these records would therefore be testimonial in nature and protected by the Constitution.

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Seth Weber, Assistant U.S. Attorney
May 28, 2008
Page 2

Secondly, the production of records would constitute testimony ofjohn Karoly as to what papers were
“allegedly stored in the storage facility.” The production would therefore require in effect the testimony
ofJohn Karoly as to what documents he contends were present in the storage facility. The government
seeks, under the guise ofa subpoena duces tecum, testimony from my client in this regard

l`hird, you seek to compel John Karoly to gather and produce all documents and records John Karoly
received from Peter Karoly between lanuary 2006 and February 2007. This would compel john Karoly
to gather and produce all records lie recalls receiving from Peter Karoly years after they were received
l`he result is that John Karoly’s production would be testimonial in that the production would be
evidence ofwhat documents he recalls receiving from Peter. The government seeks to lock a target into
a position in advance ofa potential indictment

Fourth, the production ofthe records would establish John K.aroly’s possession or control ofthe records
in question which well may have evidentiary value to your investigation ln fact, l can contemplate in a
case like ours that the both the existence of certain records and the absence of other records would be
argued by the government as evidence against John Karoly.

Fif`th, the act of production and its implicit authentication ofthe records would constitute testimonial
communication

ln summary, the production of records would constitute an admission as to the existence or absence of
records, their possession or control, and the opinion that the documents produced are the ones described

in the subpoena These types ofadmissions implicitly communicate statements of fact that may lead to
incriminating evidence

l would like to explore with you whether use immunity under 18 U.S.C. 6002-3 would be offered by the
government concerning these recordsl

Very truly yours,

€/"M%%/

Robert E. Goldman

REG:cb

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Seth Weber, Assistant U`.S. Attoniey
May 28, 2008
Page 3

bcc; lohn P. Karoly, Jr.

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EXHIBIT 3

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Robert l_",, Goldman
i)irect Dial: (215} 913~3550

File No. 52130.0000l

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Via Facsimile (f."l610~776-§184 and First Class Mail
Seth Weber, Assistant Ll.S. Attorney

U.S. Department ofJustice

Eastern District of Pennsyl\-'ania

504 West liumillt)ri St.i Suite 370'7

Allentown, PA 18 l 0l

Re: Grand .lurv Matter: 07“300

'f-J_v f.?"_"" u/
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l)ear l\/Ir. Weber:

l:'rior to the search ol`lohn l~'Laroly"s residence and the serving ol` grand jury subpoenas, Dr. .lohn
Shane, the witness to the june 2006 Wills, was visited by two members of federal law enforcement
One, he identified as F.B.l. Special Agent Thomas Maral<ovitz_ lmmediately after the approximately
two hour interview, Dr. Shane told numerous individuals that the li`.B.l. had told him that John Karoly
and his son, J.P. Karoly, had acknowledged their involvement in preparing the fictitious 2006 Wills and
had implicated him in the scheme in spite ofthat false representation, Dr. Shane continued to state to
them that the 2006 Wills that he had witnessed were legitimate and existed prior to Peter Karoly and
l,,auren Angstadt’s deaths Frankly, the interview ploy used was an investigative tactic that is not novel
and, in fact, is commonly used by law enforcement ln this case, however, it was a roll ofthe dice and
the government lost.

The fact that Dr. Shane continued to represent the 2006 Wills as legitimate in the face ofF.B.l.
claims that the Karoly’s had implicated him is exculpatory material and, in fact, will be at the heart of
our defense should the grandjury return an lndictment in this case. The false representation to Dr.
Shane is significant for two reasons First, it supports our constant statements that this investigation is
unwarranted and that your targets are not guilty of any offenses Dr. Shane stood steadfast in his
statements that the 2006 Wills were legitimate under conditions when a guilty party would crumble.
Secondly, it shows that the federal govemment, specifically the lustice Department, will make false
representations to witnesses to get them to give a version of the facts that the government has ordained
to be true.

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Seth Weber, Assistant U.S. Attorney
june l l, 2007

Page 2

l would therefore ask that all rough notes made during the interview ofDr. Shane be
immediately preserved as well as all drafts ofthe FBl 302 ofthat interview l\lext, this Brady material
should be disclosed to the grandjury. Against my objection1 Dr. Shane was paraded multiple times for
maximum effect before the grand jury to assert his Fiftli Amcndnicnt rights to the detriment of my client
and Dr. Shane. The fact that he continued to maintain that the Wills were legitimate after the FBl told
him falsely that the Kart)ly’s gave him up, must be disclosed to the grand jury

"l`he foregoing is made even more problematic following last 'l"hursday`s grandjury appearance
by l)r. Shane. On that datc, l was advised by Gcorgc l'~l`eitczman that you acknowledged that you were
at the Dr. Shane interview along with SA Maral<ovitz. This has thrown you now into the potential role
as a witness in this case ifthere is a return of an indictmentl lt presents a real and actual conHict.

Thcrc is no doubt, as l stated above, that a prominent feature of our defense would be the
interview ofDr. Shane. lfyou remain the prosecuting attorney in this case, you will not be able to
dispute the version ofl`)r_ Shane or vouch for any contrary position taken by the F.B.l. The only
possible removal ofa conflict would be an acknowledgement that tlic misrepresentation took place We
would need, with the participation ofSupervisory Assistant U.S. Attorney Peter Schenck, to see ifthis
would remedy any potential conflict I am not sure that it can but would be willing to explore with the
government lt is essential, however, that you put a hold on your presentation of witnesses before the
grand jury until this conflict issue is resolved

Shou!d the government not acknowledge that this misrepresentation took place, you regrettably
have a conflict in continuing in presenting this case to the grand jury and, in the event of an indictmcnt,
proceeding with the prosecution An attorney who is a witness should not also wear the hat of
investigator, prosecutor and trial attorney in the same case lf there is a dispute that the statement was
made to Dr. Shane, you would also be thrust during the grand jury investigation into the position of
gathering witnesses to support your future credibility as a witness

The "l`hird Circuit has unequivocally stated: "‘An advocate who becomes a witness is in the
unseemly and ineffective position ofarguing his own credibility "fhe roles ofrm advocate and ofrr
witness are r'nconsr`stent,' the function of rm advocate rs to advance or argue the cause ofanother, while
that cfa witness is to state facts objectively.” Govemment of Virgin islands v. Zepp, 748 F.2d 125, l33
(3d Cir. 1984). Moreover, as the government most recently argued in the Fumo prosecution,
“disqualification may also be appropriate where it is based solely on a lawyer’s personal knowledge of
events likely to be presented at trial, even ifthe lawyer is unlikely to be called as a witness.” United
States v. Merlino, 349 F.3d 144, l52 (3d Cir. 2003). In Merlino, the Court approvingly cited the Second
Circuit’s explanation that: where an attorney is also a witness to a relevant act, his role as advocate may

 

l ln light ofthis, l would also ask you to retain all ofyour rough notes taken during the interview ofDr. Shane.

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Seth Weber, Assistant U.S. Attontey
June l l, 2007
Page 3

give his client an unfair advantage, because the attorney can subtly impart to thejury his first-hand
knowledge of the events without having to swear an oath or he subject to eross»examination. United
sra;@§,i;. camera 6 ssa <)24, 933 rza cit 1993>.3

l do not come to this conclusion lightly l have spent the entire weekend thinking about the
issue. lf you are conflicted out ofthis case, l believe your office may have to refer this investigation to
an attorney in l\/lain Justiee to take over the grand jury investigation and bring this matter to a
conclusion Again` it is clear to me that you must stop presenting witnesses before the grand jury until
this conflict issue is resolved l look forward to discussing this matter more fully with you and l\/ir.
Schenck.

Rcs;_)ectfully._
Robert li. Goldntttn

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2 The rules of professional conduct are largely consistent Rule 3.7 states:
(a) A lawyer shall not act as advocate at a trial in which the lawyer is likely to be a necessary witness unlessr
(l) the testimony relates to an uncontested issuc;
(2) the testimony relates to the nature and value of legal services rendered in the case; or
(3} disqualification ofthe lawyer would work substantial hardship on the client

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EXHIBIT 4

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File No. 52| 3()1(}(]0{)1

August 14, 2007

Via Facsimile and First Class Mail

 

Seth Weber, Assistant l,l.S. Attorney Peter F. Schencl<

U.S. Attorney`s Ot`t`ice Supervisory Assistant U.S. At'torney
Eastern District of Pennsylvania U.S_ Attorne_v`s (1)i`t`tce

504 West l'l_amilton St., Suite 3701 Eastern District of"Pennsylvania
Allcntown, PA lSlt`)l 615 Chestnut' Street

P'hiladelphia1 PA
Re: Grand Jurv Matter No. 07-300

Dear l\/lr_ Weber:

As I attempted to discuss with you last Thursday, l was advised by Arthur Donato, Jr., Esq., counsel t`or
Karoly Law Office employee l~leather Kovacs, that he was concerned about what had had taken place
that day when Ms. Kovacs appeared to testify before the grand jury and was questioned by you. lt was
reported to me that Ms. Kovacs left the room emotionally distressed and crying alter being questioned
about her child, her mother, and other personal and irrelevant matters Obviously, l was not present for
your examination but l ani, nonetheless, reflecting about the potential that irrelevant and inflammatory
information is being presented to the grandjury. As counsel for John Karoly, it is my duty to raise
questions concerning potential grandjury abuse when they may arise

fn earlier correspondence including a letter dated June l l, 2007, l discussed with you my concerns
about your ability to continue to head the ongoing grand jury investigation while, at the same tinie, you
placed yourseltin the case as a witness based upon your appearance at Dr. Shane's residence with FBI
Agent 'l`homas Maral<avits. A copy ot` that letter is enclosed As l asserted at that tiine, "‘an attorney
who is also a witness should not also wear the hat of investigator, prosecutor and trial attorney in the
same case. lfthere is a dispute . . ., you would be thrust during the grandjury investigation into the
position ot`gathering witnesses to support your future credibility as a witness.” lt is equally true that
you would be motivated to cast doubt on the credibility ofothers whose testimony is at odds with yours
Despite the concerns l raised, no action was taken by you or your office to rectify this problem ln fact,
since then, you have continued to travel alone with SA Marakavits to interview individuals Mfany of
these potential witnesses have stated that a part ol`the interview process consisted ofyou attempting to
convince them ofl\/lr. Karoly’s involvement in criminal activity Should there be issues as to what was

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Scth Weber, U.S. Attorney
August l4_ 2007
Pagc 2

stated during these interviews, you would be brought again into the case to dispute the recollection of
the witnesses

ln addition, by prior letter dated June 6, 2007 and enclosed, l requested that you not drag before the
grand jury individuals who assert their Fifth A_niendnient Privilege not to testify since their appearance
before the body that has the power ofindictnient would be prejudicial to my client. Despite that request,
you have had at least one key person, Dr. _lohn Shane, required to repeatedly exercise the Fifth before
the grand jury

l\l`ow that l have spoken with l\/lr. Donato about the nature of your inquiry of l\/ls, Kovacs, l arn fearful at
this point that you have lost any objectivin that you may have ever had in this case. lfthere was an
inquiry by you concerning non-existent offshore bank accounts or concocted representations ofwhat tvlr.
Karoly would received frorn the entity ERAD under the Will, l am also fearful that a grand jury which is
presented this intlanimator),/3 irrelevant and prejudicial material may ignore the lack ofsufficient

evidence to indict and nonetheless return an Indicttnent.

l am therefore requesting that your office ask the stenographer from the proceeding on August 9 to
expedite the production ofthe transcript for review by Supervisory AUSA Peter Schenck. l further
request that you have the stenographer preserve the audiotape ofthe proceeding l will need this
audiotape should a challenge to the grand jury proceedings be raised It is requested that the review take
place prior to the next session when you intend to interrogate another K.aroly Law Ofiice employee
lanies Heideclter. From what was related to Mr. Donato by Ms. Kovacs, it appears that you have
already, and will continue to, notify the grand jury that l\/lr. l`~leidecker’s law license has been suspended
The relevancy ofthis passes me by. lt appears again to be for the sole purpose ot`darl<ening the
reputation of Mr. K_aroly, his employer, before the g'randjury.

l arn making the further demand that the government instruct the stenographer to preserve all tape
recordings ofthe grandjury proceedings in this case, including your one-on-one discussions with that
body. My request includes past sessions and all future sessions

Very truly yours,

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Robert E. Goldman

 

REG:cb

Enclosures

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EXHIBIT 5

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Fox Rothschild up

A`FTE)RN{YS A`F LAW

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Robert E. Goldman
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Ernail Address: rgoldnian;?i}foxrothsehild.com
File No. 52130.0000t

lime S, 2007

Via Facsimile @ 610-776-1184 and First Class Mail
Seth Weber, Assistarit U.S. Attorney

U.S. Department ofJustice

Eastern District of Pennsylvania

504 West Han"\ilton St., Suite 3707

Allentown, PA 18101

Re: Grand Jurv Matt;er: 07-3{|0

Dear l\/lr. Weber:

l recently received information which l believe the F.B.l. needs to move on expeditiouslyl lt concerns
the embezzlement of funds from the MR] Centers in North Charleston and Greenville, South Carolina
that were owned by Peter K.aroiy, Joanne Billman worked at the offices She also ran (unauthorized by
Peter) her travel business from that location Her business is Cirele B Dream Vaeations.

We have learned that Peter had discovered this thet"t, believed that Joanne Billman was involved and
was in the process ol`dealing with Joanne and preserving his records in South Carolina shortly before his
death.

'l`his information, iftrue, establishes a motive for the false information that the Caveators have supplied
the government about Karoly family members in Allentown. We believe the attack on Joh.n Karoly by
.l`oanne Billman was an attempt to divert ali attention from her activity at the MRI Centers.

l have been advised that Joanne Billrnan has removed credit card records of the t\/IRI Centers from the
business and taken them to her residence l was advised that she had used the company’s money and

credit cards for personal expenses, including repairs to her vehicles, entertaining friends, purchase of
residential furniture, purchases at Best Buy, plane tickets for herself, her family and Kim Luciano, and
expenses for her travel business The cards used were American Express, Visa and Master Card. She
also permitted her husband and son to use the cards which they did, using the signature P or P Karoly.

l have also been advised that she has brought in new servers for the company’s computer and that the
old servers may have been removed or tampered with by attempting to delete informationl

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FOX ROiilSCllllCl LLP

AlTORNEYS M LAW

Seth Weber, Assistant U.S. Attorney
J`une 8, 2007
Page 2

in addition, l have been told that .loanne Billman has used the company’s money to write checks to
Shelly l~`ischl since Peter’s death

lt is therefore requested that FBI immediately investigate the embezzlement at the MRI Center and
preserve the computers and hard drives which were present at that location The corporate records
including the expense and credit card records need to be preserved

ln addition, l have been advised that Joanne and Kim removed material from Peter’s residence This is
in addition to the material that you know went to the residence ol`John Karoly. Although there are
indications that they may have destroyed or discarded much of the material, what still remains at
.loanne’s residence needs also to be recovered and preserved 'I"he records that loanne Bi]lman took
t"rom the residence establishes that she had the ability to discover and remove material from Peter’s
residence which would have corroborated that the June 2006 Will was created by Peter.

lftlie information l am providing to you is correct, it is extremely important to establish l believe that it
warrants the government’s reconsideration of what it believes to be the truth in this case. Since the FBI
seized material from John Karoly’s residence that had come l`rom Peter l<aroly’s residence, the l`~`Bl
should realize that there is similar evidentiary value for the documents ot`Peter’s that were taken by
loanne Bill.man and Kim Karoly Luciano. 'l`o ignore these records would show an unequal application
o€the FBl’s attention on Johri Karoly to the exclusion ofJoanne Rillman and Kim Luciano.

One linal matter, l have also been advised that in the late hours on the date ol` l’eter’s death, .loan_ne
gained access to Peter’s laptop computer to delete materiall This should be a focus of the government’s
analysis ofthe computer that is in your possession

Respectl"ully,

Rohert' E Goldman

R__EG:cb

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EXHIBIT 6

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Fox Rothschild tu=»

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Robert E. Go|dinan
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Email Addrcss; rgoldman@.foxrothschild.com
Fiie No. 52130.0000|

June 20, 200“/'

Via Facsimile (d) 6¥0~776-1184 and First Class l\/lail
Seth Weber, Assistant U.S. Attorney

U.S. Department ofJustice

Eastern District of Pennsylvania

504 West Hamilton St., Suite 3707

A.llentown, PA lSlOl

Re: Grand Jurv Matter: 07-300

Dear Mr. Weber:

I learned today that another search was conducted by the F.B.I. in connection with the ongoing
investigation 'l`he premises belonging to John Karoly, Jr. and Doctor .lolm Shane have now been the

subject of searches by your agents

We have provided you with information1 and you have received it also from multiple sources, that
Jeffrey Fischl, Sherry Fischl, Joanrie Biliman and Kim Luciano had access to Peter Karoly's residence
after his death and removed objects from his house. You have also learned that Mr. Fisch] arranged to
have Peter Karoly's safe opened. We also supplied you with information concerning the embezzlement
of funds from Peter's MRI Centers and the motives for some to frame lohn Karoly. Yet, the government
continues to take no action to seize these relevant records

Although the government has professed that it is being even handed in this investigation, l have yet to
see it. I arn unaware of any attempt by the government to follow up on leads that witnesses have
provided you concerning those who accuse john Karoly. Certainly7 there have been no searches
pertaining to these individuals

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ATTORN E¥S A`i LAW

 

Seth Weber, Assistant U.S. Attorney
tune 20, 2007
Page 2

We simply request that the government take prompt action to secure the foregoing records and
investigate those whose financial interests motivate their allegations against Mr. Karo|y.

Very truly yours,

/'/ /3~.1,:\__’

Robert E. Goldrnan/

REG:cb

cc: F.B.I. SA Thornas Marakovits

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EXHIBIT 7

   

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2?00 Kelly lioad, Su:te 300
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www_lo)<rott'tschtld.cnm

Robcrt E`. Goldman

Dircct Dial; (215) 918-3550

Email Acldress: rgoldman.flefoxrothschild.corn
Fite No. 52|3{).0000|

l\/Iay 25, 2007

Via Facsimile 613 610-776~1184 and First Class Mail
Seth Weber, Assistant U`.S. Attorney

U.S. Departrnent ofJustice

Eastern District of Pennsyivania

504 West Harnilton St., Suite 3701

A_llentown1 PA 13101

Re: Grand Jurv Matter

Dear Mr. Weber:

You have subpoenaed Rebecea Karol_y, the wife of John Karoly, to testify before the Grand jury on
l\/fay 31, 2001 This letter is to advise that she would exercise her spousal privilege not to testify in that
proceeding As you know, a spouse cannot, under the circumstances present in this case1 be called to
testify in a proceeding, the focus of which is to gather criminal evidence against the other spouse

l`lie U.S. Attorn_ey’s Manual provides that it would be improper to compel the person exerting the
privilege to appear before the grand jury panel simply to exercise the privilege Clearly, such a
requirement would be prejudicial to the other spouse, John Karoly, the subject of the investigation

Kindly advise me by next Tuesday, whether you accept my representation ofthe exercising of the
privilege and either cancel or continue the appearance date to work out this issue.

Respectl`ully,

WM%;ZW/

Robert E. Goldman
REG:cb

cc: Rebecca Karoly

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EXHIBIT 8

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Robcrt E. Goldman

l`)irect Dial: (235) 918-3550

Email Address: rp'oldman(¢i`.:fox_rrg_ll§“ggh___iulwg_tgc_ourp
l`~`ile No. 52130.0000l

.lune 6, 2007

Via Facsimile 613 610-776-1 184 and First Class Mail
Seth Weber, Assistant U.S. Attorney

U.S. Department of.lustice

fitistcrn District of Pennsylvania

504 West Hamilton St., Suite 3707

Allentown, PA 18101

Re: Grand .Iurv Matter: 07-300

Dear Mr. Weber:

lt has come to my attention through counsel for Dr. john Shane, George l'leitzman, that Dr. Shane
intends to exercise his Fifth Amendment privilege should he be called to testify before the investigating
grand jury. My understanding is that l\/lr. Heitczman has informed you ofthis and that he would confirm
this in writing to you. l have been further advised that you are requiring that Dr. Shane to exercise his
Fif`th_ Amendment Rights in the presence ofthe grandjury. From my discussions with you and what the
FBI has stated to a multitude ofpotential witnesses in this case, it is apparent to me that the government
considers Dr. Shane a “target” of the investigation as that term is defined in the U.S. Attorney’s manual.

least week, l advised you that Rebecca Karoly, the wife of John Karoly, who has also been subpoenaed
to testify before the grand jury, would exercise her spousal privilege and not testify before the grand jury
which is investigating allegations against her husband You have advised me that you would not accept
this representation and that she would be required to assert her privilege before the grand jury. From my
discussions with you and what the FBl has stated to a multitude of potential witnesses in this case, it is
apparent to me that the government considers John Karoly a “target” ol"the investigation as that term is
defined in the U.S. Attorney’s manuall

"l`his letter is to state my objection to the government’s requirement that these or any other subpoenaed
witnesses be required to exercise their Fifth Arnendment Rights or Spousal privilege before the very
body that will be determining whether the evidence is sufficient to return an lndictment. 'I`o require
them to do so would prejudice my cl_ient, John Karoly, in the eyes of the grand jury even should curative

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Seth Weber, Assistant U.S. Attorney
june 6, 2007
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instructions be provided “The layman's natural first suggestion would probably be that the resort to
privilege in each instance is a clear confession ofcrime." 8 Wiglnorc, lividence, 3d l§d., # 2272_, p, 426.

'l`he parading ofwitnesses, who are friends, associates and family members of my client, before the
grand jury when you know that they will assert their privilege not to testify is extremely inflammatory
conduct before the grand jury. Scores ofcases highlight the extreme prejudicial nature ofthis
procedure

lt is well settled that thejury is not entitled to draw any inferences from the decision ofa witness to
exercise his constitutional privilege whether those inferences be favorable to the prosecution or the
defense Billecimv_ llnited States, 87 U.S.App.D.C. 274, l84 F.Zd 394 (_ l‘)§t)). "fhe rule is grounded not
only in the constitutional notion that guilt may not be inferred from the exercise ofthe Fifth Amendinent
privilege but also in the danger that a witness's invoking the Fifth Amendment in the presence ofthe
jury will have a disproportionate in'ipact on their deliberations “"l"hejury may think it high courtroom
drama of probative significance when a witness `takes the Fifth.’ l`n reality the probative value ofthe
event is almost entirely undercut by the absence of any requirement that the witnessjustify his fear of
incrimination and by the fact that it is a form ofevidence not subject to cross-examination Fletcher v.
Lnjtewdw§tgt§§, l lS U.S.App.D_C. 137, 332 F.Zd 724 (1964).

An obvious corollary to these precepts is the rule that a witness should not be put on the stand for the
purpose of having him exercise his privilege before thejury. “This would only invite the jury to make
an improper inference For the same reason no valid purpose can be served by informing the jury that a
witness has chosen to exercise his constitutional privilege That fact is not one thejury is entitled to rely
on in reaching its verdict.” Morrison v. United States, 439 F.Zd 536, C.A.D.C. (1970). See also United
States v. Duran, 884 F.Supp. 573 D.D.C.,1995 (a witness should not be put on the stand for the purpose
of having him exercise his privilege before thejury {as t]his would only invite thejury to make an
improper inference); San Fratello v. United States, 340 F.Zd 560, 565 (Sth Cir.1965) (reversible error in
permitting prosecution to call witness so as to require her to claim Fitih Amendment privilege in the
presence ofthejury); United States v. Victor, 973 F.Zd 975, 979 (1st Cir.1992) (witness' refusal to
answer a question, particularly in the context of cross-examination, could lead a jury to draw
impermissible inferences); United States v. Vandetti, 623 F.Bd ll44, 1148 (6th Cir.lQSO) (no right to
benefit from any inferences thejury may draw from the witness' assertion of the privilege “alone or in
conjunction with questions that have been put to him") (quoting United States v. Lacouture, 495 F.Zd
l237 (Sth Cir).

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t:iivcn the goverru'nent plan to repeatedly put witnesses before the grand jury who have legitimate cla-titus
ofprivilege, the prejudice to my client is insurmturntable “'\lv"hen a witness claims his privilege a
t."iatural, and indeed almost inevitable inference arises as to what would have been his answer if he had
not refused lfthe prosecution ituovvs when it puts the question that he will claim the privilege it is
charged with notice ofthe probable effect ofhis refusal upon the jury*s mi.nt:i. . . . Such refusals have
been ui‘iif.`ormly held not to be a permissible basis for inferring what would have been the answer,
although logici.illy they are very persuasive l-'lt')w to deal with them is another mattei:l not easy to decitjie;_
but it is clear7 not only that the presumed answer has not the sanction of an oath., but what is even more
important that the accused cannot cross~e)taniine_ lfthcy once do get before thejury, there arises, as we
have said, a strong ;')robahility that they will he taken as ci-'idcntiary." it@itgdi§§tmtmgsoj;.__ly_l_gl_t_i_)_ptw§f', 2 (,`ir.‘
lof l"~`.jltl. 535, 537 titliil); l;.ij@th§§gtes vgl:{iit_§_ 918 l".jd li)'?. Etltl tl.)`t'_`,t_`ir. ltl%lt)) t `s‘-t witness may
not be put on the stand for the pt_irpi_ise ot allowing the jury to watch him °tal~;e the §`*`il"th.’); Ll_§j;t:jl_;~,l¢
y_, 'l“horntog, 733 l*`.Z‘d l§ i, 125 (l).C,Cir l 93-'¥`} {stz'tting that the "‘rig_ht to compulsory process does not

inclt.tde [_thej right to have the witness assert fifth ;uncntln'ient privilege before thejury }; _l`_,.lnitetj Sttmi_t_§_s_____‘_v_j_:

Sii'iiiii<;p§, 663 l£`.?,d ltl?` ltlll {`f).(`,`.t`fir. ll)?tl} (pcr curiam) t i‘l:!\l witness has the right to exercise ltlie

    

 

(l").{f_(`.`ir. l 977) ( "`EA] defendant has no right to put a witness on the stand simply to require him to assert
his l*`ifth A_mendment privilege before thejury); Coleman v_ United States, 420 F.Zd 616, 623“25
(`l).(.`.Cir. l 969) (firidiiig fifth amendment violations when counsel for three codefendants were required
in turn to state in open court that their clients had declined to testil`y).

in addition to the above, l believe that the calling of these witnesses before the grandjury to exercise
their privilege not to testify violates the letter and spirit of provisions contained within the l_lnite-d States
At.torneys l\/lanual. The Manual provides that a target should not be called before the grand jury to
exercise his Fiflh Amendment rights lt is my position that the government may not get around this
directive by simply reclassifying Dr. Shane as a “subject.” As to llebecca Karoly, by analogy, a spouse
ofa target should not be dragged before the grandjury to exercise her marital privilege

Again, l strongly ask that you not have these witnesses assert their privileges before the grand jury_
Sh.ould you still plan to do so, l request that you submit this correspondence to the supervisory Assistant
United States A.ttomey for his/her review prior to that course of action being taken

Respectfully,
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Robert E. Goldnian

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